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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

CASE NO.: CV 17-7294-SJO(PJWx)                                              Date: February 6, 2018

TITLE:    Webullient Inc. v. Gregory Strickler
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PRESENT:
                           HON. PATRICK J. WALSH, JUDGE
           Isabel Martinez                                   N/A
           Deputy Clerk                                 Court Recorder

ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                   None Present



PROCEEDINGS: Order Setting Settlement Conference (In Chambers)

This matter having been referred to Magistrate Judge Patrick J. Walsh for a settlement conference,
IT IS ORDERED that a settlement conference be held on March 28, 2018, at 1:30 p.m., at 255
East Temple Street, Courtroom 790 (7th Floor), Los Angeles, CA. The parties, lead trial
counsel, and persons whose consent is necessary to conclude a settlement are required to
attend the settlement conference. If a proposed settlement must be presented for approval to a
board or committee, the person who is responsible for making a recommendation to the board or
committee must be present (or available by telephone if granted permission by the court).

Each side shall submit a settlement conference statement directly to Judge Walsh’s chambers at
pjw_chambers@cacd.uscourts.gov not later than two (2) court days before the conference.
These statements are to be exchanged with opposing counsel. The statements shall not be filed
with the clerk’s office, shall be brief (five pages or less), and may include: a summary of the
important issues, the party’s position on each issue, information regarding damages in non-
conclusionary form, and the course of negotiations up to that point. Each side may also submit a
brief confidential statement, which need not be served on opposing counsel, the contents of which
will not be communicated to the other side.

** If a party believes that now is not a good time to conduct settlement negotiations,
counsel shall submit a stipulation and proposed order requesting a continuance of the
settlement conference.




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